           Case 1:97-cr-05129-JLT Document 415 Filed 05/24/17 Page 1 of 2



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 5
                              UNITED STATES DISTRICT COURT
 6
                                EASTERN DISTRICT OF CALIFORNIA
 7

 8    UNITED STATES OF AMERICA,                         CASE NO. 1:97-CR-5129-LJO-3
 9                         Plaintiff-Respondent,
                                                        ORDER SETTING BRIEFING SCHEDULE
10           v.                                         RE PETITIONER’S INEFFECTIVE
                                                        ASSISTANCE OF COUNSEL CLAIM
11    LAWRENCE ROBINSON,
12                         Defendant-Petitioner.
13                                                      (ECF No. 414)
14

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16          On June 23, 2016, Petitioner Lawrence Robinson, through the Federal Defender’s Office,

17   filed a motion to vacate, set aside, or correct his sentence pursuant 28 U.S.C. § 2255, raising issues

18   related to Johnson v. United States, 135 S. Ct. 2551 (2015), and Welch v. United States, 136 S. Ct.

19   1257 (2016). ECF No. 405. Petitioner simultaneously filed an application to the Ninth Circuit for

20   leave to file a second or successive § 2255 motion. Id.

21          On September 22, 2016, Petitioner filed with the Ninth Circuit a second motion for

22   authorization to file a successive § 2255 motion, therein raising a claim of ineffective assistance of

23   counsel (“IAC”). ECF No. 414 at 1-2.

24          On March 21, 2017, the Ninth Circuit consolidated Petitioner’s two § 2255 motions and

25   authorized him to file both claims in this Court. ECF No. 404.

26          On March 24, 2017, this Court set a briefing schedule with regard to Petitioner’s Johnson-

27   Welch § 2255 claim. ECF No. 408. The Government filed its opposition to Petitioner’s Johnson-

28   Welch claim, ECF No. 411, and Petitioner filed his reply, ECF No. 413.
           Case 1:97-cr-05129-JLT Document 415 Filed 05/24/17 Page 2 of 2



 1          On May 23, 2017, Petitioner apprised the Court that it had not yet set a briefing schedule

 2   regarding his IAC claim. ECF No. 414. Accordingly,

 3          IT IS HEREBY ORDERED that the Government shall file a response to Petitioner’s § 2255

 4   IAC claim on or before June 25, 2017. From the date of the Government’s filing, Petitioner shall

 5   have 30 days to file a reply.

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     IT IS SO ORDERED.
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 8      Dated:     May 24, 2017                            /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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